














SUPREME COURT OF TEXAS



THE STATE OF TEXAS
 

March 11, 2011



TO THE SHERIFF OF DENTON COUNTY, TEXAS, GREETING:
 

WHEREAS, Donald W. Davis
, Relator, has made application to The Honorable Supreme Court of Texas for a Writ of Habeas Corpus, alleging that he is illegally restrained of his liberty by you in said Denton County, Texas by virtue of certain process issued out of the 431
ST
 
District Court of Denton County, Texas and

WHEREAS
, pursuant to 
Tex. R. App. P. 
52.8(b)(3), The Honorable Supreme Court of Texas is of the tentative opinion that a serious question concerning the relief requires further consideration, and the Court orders the following: &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;						

CASE NO. 11-0177; &nbsp;IN RE DONALD W. DAVIS



Relator's petition for writ of habeas corpus filed on March 11, 2011, in the above numbered and entitled cause having been duly considered in chambers, it is ordered that Relator be released on bail pending final disposition of this case.

Relator will be admitted to bail upon his giving of a good and sufficient bond, conditioned as required by law, in the sum of
 TWO HUNDRED FIFTY DOLLARS
 ($250.00).



NOW THEREFORE
, you are hereby commanded to admit to bail, Donald W. Davis, conditioned upon the bond of said applicant in the sum of 
TWO HUNDRED FIFTY DOLLARS
 
($250.00), in the terms and conditions of the law, that he will appear and abide by the decision of the Supreme Court of Texas, which bond you will approve in your official capacity and forward a copy thereof to the Clerk of this Court.

THESE ARE THEREFORE TO COMMAND YOU to obey the foregoing and in all things.

HEREIN FAIL NOT under the penalties prescribed by law.

BY ORDER OF THE SUPREME COURT OF THE STATE OF TEXAS



with the Seal thereof annexed at the City of Austin, this 11
th
 day of March, 2010.	



BLAKE A. HAWTHORNE, CLERK

SUPREME COURT OF TEXAS





 

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